SO ORDERED.

SIGNED this 17th day of August, 2022.




____________________________________________________________________________




                                UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF KANSAS AT KANSAS CITY

 In re:                                              )
                                                     )
 Pinnacle Regional Hospital, Inc.,                   )   Case No. 20-20219
                                                     )
           Debtor.                                   )   Chapter 7
                                                     )
                                                     )   (Jointly Administered)

 ORDER APPROVING MOTION UNDER RULE 9019 OF THE FEDERAL RULES OF
  BANKRUPTCY PROCEDURE TO APPROVE PROPOSED SETTLEMENT WITH
   STRYKER SALES, LLC, A WHOLLY OWNED SUBSIDIARY OF STRYKER
  CORPORATION ACTING THROUGH ITS STRYKER ENDOSCOPY DIVISION

          This matter comes before the Court on the Motion under Rule 9019 of the Federal Rules

of Bankruptcy Procedure to Approve Proposed Settlement with Stryker Sales, LLC, a wholly

owned subsidiary of Stryker Corporation acting through its Stryker Endoscopy Division (the

“Settlement Motion”) (ECF No. 801) filed by James A. Overcash, not individually, but solely as

Chapter 7 Trustee in the above-captioned bankruptcy case (the “Trustee”). There being no

objection to the Settlement Agreement, the Court having determined that no further notice of the

Settlement Motion is necessary, and for good cause shown,



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IN THE U.S. BANKRUPTCY COURT, DISTRICT OF KANSAS
In Re: Pinnacle Regional Hospital, Inc., et al., Case No. 20-20219
Order Granting Motion Under Rule 9019 of the Federal Rules of Bankruptcy Procedure
to Approve Proposed Settlement with Stryker Sales, LLC, a wholly owned subsidiary of Stryker Corporation
acting through its Stryker Endoscopy Division
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         IT IS HEREBY ORDERED that the Settlement Motion is granted in its entirety.

         IT IS FURTHER ORDERED that the proposed compromise of controversy by and

between the Trustee and Stryker Sales, LLC, a wholly owned subsidiary of Stryker Corporation

acting through its Stryker Endoscopy Division on the terms and conditions described in the

Settlement Agreement attached to the Settlement Motion is approved under Fed. R. Bankr. P. 9019.

         IT IS FURTHER ORDERED that the Settlement Agreement shall become binding upon

and inure to the benefit of all parties thereto, any successors, successor Trustees and assigns upon

the entry of this Order approving the Settlement Agreement.

         IT IS FURTHER ORDERED that the Trustee be, and hereby is, authorized to take all

actions reasonably necessary to implement this Order and the settlement approved hereby.

         IT IS SO ORDERED.

                                                 ###

SUBMITTED BY:


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